
PER CURIAM.
Affirmed. See Bertolotti v. Dugger, 514 So.2d 1095, 1096-97 (Fla.1987); Mingo v. State, 680 So.2d 1079, 1080 (Fla. 3d DCA 1996); overruled on other grounds by Grene v. State, 702 So.2d 510, 512 n. 4 (Fla. 3d DCA 1996); see also Fla. R.Crim. P. 3.380(b); State v. Pennington, 534 So.2d 393, 395 (Fla.1988); Morris v. State, 689 So.2d 1275, 1276 (Fla. 5th DCA) review granted, 698 So.2d 848 (Fla.1997).
